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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
____________________________________
                                     )
CONSERVATION LAW                     )
FOUNDATION, INC.,                    )
                                     )
            Plaintiff,               )
                                     )
                                     )  Civil Action No. 1:22-CV-10626-AK
v.                                   )
                                     )
MASSACHUSETTS WATER                  )
RESOURCES AUTHORITY,                 )
                                     )
            Defendant.               )
                                    )

                               MEMORANDUM AND ORDER

A. KELLEY, D.J.

       Defendant Massachusetts Water Resources Authority (“MWRA”) moves to object to the

lack of relatedness designation in the action brought here by Plaintiff, Conservation Law

Foundation (“CLF”), to consolidated actions pending before Judge Stearns, United States of

America v. Metropolitan District Commission, et al., C.A. 1:85-cv-00489-RGS (“MDC 1985”)

and CLF v. Metropolitan District Commission, et al., C.A. 1:83-cv-01614-RGS (“MDC 1983”)

(together, the “Boston Harbor Action”). [Dkt. 6]. Defendant seeks to reassign the case to Judge

Stearns pursuant to Local Rule 40.1(i). CLF opposes this motion. [Dkt. 9]. For the following

reasons, MWRA’s motion to object to the lack of relatedness designation and motion for

reassignment is GRANTED.




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I.      LEGAL STANDARD

        Local Rule 40.1(g) governs the designation of related cases. If the plaintiff believes that

a case is related to an earlier filed case, assuming no more than two years have passed since the

earlier case’s closing, the plaintiff shall, at the time of the initial pleading, notify the clerk about

the related case. L. R. 40.1(g)(4), (5). A defendant who believes that a case should have been

designated as related should file, as Defendant here has done, a motion in the later filed case for

the consideration of transfer or reassignment. L. R. 40.1(g)(6)(B).

        A civil case is deemed related to another civil case if some or all of the parties are the

same and if one or more of the following similarities exists: “(1) the cases involve the same or

substantially similar issues of fact; (2) the cases arise out of the same occurrence, transaction or

property; (3) the cases involve insurance coverage for the same property, transaction or

occurrence.” L. R. 40.1(g)(1). A district judge may reassign or transfer a case if doing so is “in

the interest of justice or to further the efficient performance of the business of the court.” L. R.

40.1(i)(1).

II.     DISCUSSION

        MWRA argues that the present case is closely related to the Boston Harbor Action

because it similarly features a challenge to MWRA’s compliance with its National Pollutant

Discharge Elimination System (“NPDES”) permit and the Clean Water Act (“CWA”), 33 U.S.C.

§§ 1251-1376. [Dkt. 7 at 2]. MWRA also suggests that reassigning the case to Judge Stearns

would enhance the efficiency of proceedings because of his tenure over the Boston Harbor

Action and the NPDES permit at issue in this case. [Dkt. 7 at 2].

        CLF responds that the cases comprising the Boston Harbor Action, which MWRA

purports to be related, are significantly older and that the subject matter here is unique. Rather




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than addressing sewer overflow outfalls, which the Boston Harbor Action addresses today, it

focuses on a different and specific current problem: the obligations of MWRA to take action

against industrial users violating wastewater treatment standards. 1 [Dkt. 9 at 2-4].

        The lawsuits forming the Boston Harbor Action were challenges brought against

MWRA’s predecessor, the Metropolitan District Commission (“MDC”). They concerned the

MDC’s discharge of effluent into the Massachusetts Bay from its Deer Island and Nut Island

treatment plants and from combined sewer overflows. [Dkt. 7 at 3]. CLF initiated the first

lawsuit in 1983, alleging that the MDC was violating the CWA through its discharge of raw

sewage into the Boston Harbor. [Dkt. 7 at 3]. CLF’s lawsuit was followed by the Environmental

Protection Agency’s (“EPA”) own federal action in 1985 and the two cases were subsequently

consolidated. [Dkt. 7 at 3 n.5]. Plaintiffs therein alleged that the MDC’s treatment of

wastewater was in violation of its NPDES permit and therefore the CWA.

[Dkt. 7 at 3]. The court concurred in 1985 and ordered MWRA to develop and implement a plan

to treat its wastewater and thereafter entered a long-term scheduling order for the cleanup of

Boston Harbor. [Id.]. That plan included an Industrial Pretreatment Program (“IPP”) which, in

accordance with EPA requirements, required MWRA to implement an Enforcement Response

Plan (“ERP”) to oversee pollutants discharged by industrial users. [Id. at 4]. The consolidated

case against MWRA closed in 1991. 2 [Dkt. 9 at 3]. Since then, however, the court continues to

oversee various elements of MWRA’s compliance with earlier court orders. [Dkt. 7 at 3].




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  CLF further argues that MWRA prematurely brought its motion for reassignment because they did so before the
complaint had been served. [Dkt. 7 at 5]. They assert that these actions taken by MWRA to position the case before
Judge Stearns gives the appearance of judge shopping. [Id.]. Since the complaint has been served and MWRA has
now filed its responsive pleading, this argument is therefore moot. [Dkt. 6; Dkt.7].
2
  MWRA inherited operations and facilities from the MDC in 1984. Enabling Act of 1984 MASS. ACTS 761, ch. 372,
sec. 4.


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       Since the passing of Judge Mazzone in 2004, the ongoing activity in the Boston Harbor

Action has been overseen by Judge Stearns to whom MWRA files biannual compliance reports.

[Id. at 3]. As recently as May 2022, Judge Stearns entered orders relating to MWRA’s

compliance. MDC 1985, Dkt. 1904. The most recent entries focus on the control plans for

combined sewer overflows and do not address the ERP or industrial users violating wastewater

treatment standards. Id. at 1903-04.

       CLF does not dispute that the parties here may be viewed as the same as that original

action, and therefore the first criteria for the case being designated as related is met.

L. R. 40.1(g)(1)(A). The question is whether the cases “involve the same or substantially similar

issues of fact” or “arise out of the same occurrence, transaction or property.”

L. R. 40.1(g)(1)(B)(i), (ii). The Court concludes that the case before it here does concern the

same or substantially similar issues of fact as the Boston Harbor Action.

       The focus of this action differs from recent follow up entries in the Boston Harbor Action

because this challenge focuses on MWRA’s enforcement response, or lack thereof, to industrial

users violating wastewater treatment standards. [Dkt. 9 at 3]. CLF’s current complaint raises

questions about MWRA’s lack of enforcement response brought against over one hundred

industrial users who were out of compliance and the danger such excess toxic waste

creates. [Dkt. 1 “Complaint” at ¶¶ 94-117, 135-161]. The Boston Harbor Action has previously

addressed the need for MWRA to regulate pollutants discharged by industrial users. In 1992, the

court ordered MWRA to amend its ERP and bring it in compliance with the EPA’s regulations.

[Dkt. 7 at 4-5]. After taking steps to comply with those requirements, MWRA along with the

EPA jointly moved to vacate that order. [Id. at 5 n.11]. CLF took no position on that motion.

[Id.; Dkt. 7-4 at 2]. The court vacated that previous order in 2001. [Id.]. That this earlier order




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was vacated does not alter the fact that these types of concerns were previously considered part

of the Boston Harbor Action.

        CLF is correct in its assertion that, according to the Local Rules, civil cases shall not be

deemed related if more than two years have lapsed since the closing of the earlier case.

L. R. 40.1(g)(4). However, the Boston Harbor Action is unique given that, while it closed

decades ago, aspects of it remain active today. MWRA’s efforts at ensuring compliance with the

Boston Harbor Action is ongoing, as is CLF’s participation in those matters. 3 That the specific

focus of those efforts today is centered around a different aspect of MWRA’s compliance with

the CWA does not change how much overlap there is between these actions.

        There is clearly significant overlap between the subject matter here and the factual and

legal questions at the heart of the Boston Harbor Action. While they focus on different aspects,

they all center MWRA’s compliance with its obligations under its NPDES permit and the CWA.

That this action is related to a subsequent NPDES permit does not alter this conclusion 4 as the

issue of industrial wastewater treatment was addressed when the current NPDES permit was in

place. 5 The current NPDES permit and ERP may not have been in place when the Boston

Harbor Action formally closed but they are the direct successors of permits and plans that have

been part of this adjudication for years. They also concern the same authority (MWRA) and the

same treatment plant (the Deer Island Treatment Plant).

        Taken together, the Court finds that under Local Rule 40.1(g), CLF’s action was required

to have been designated as related to the Boston Harbor Action. However, even if this were not




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  MDC 1985, Dkt. 1901.
4
  The current NPDES permit became effective on August 10, 2000. [Dkt. 1-3].
5
  After MWRA complied with the requirements of a previous ERP, as was required by EPA regulation, the order
requiring compliance with those requirements was vacated on October 2, 2002. [Dkt. at 5 n.11]. The ERP in place
today was submitted to the EPA on August 17, 2017. [Dkt. 1-5].


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the case, pursuant to its authority to reassign or transfer cases under Local Rule 40.1(i)(1), the

Court finds that nevertheless this case should be transferred to Judge Stearns. Given Judge

Stearns’ ongoing oversight of the Boston Harbor Action, MWRA’s compliance with its NPDES

permit, and the regulation of the Deer Island treatment plant, by proceeding here, this Court

would run the risk of issuing inconsistent decisions. Transfer is in the interest of justice and

judicial efficiency because it would ensure that MWRA has clarity for the actions it must take to

satisfactorily implement its NPDES permit, its enforcement obligations under the ERP, and the

actions it must prioritize at the Deer Island Treatment Plant.

III.   CONCLUSION

       For the foregoing reasons, MWRA’s motion to object to the lack of relatedness

designation and motion for reassignment [Dkt. 6] is GRANTED. The Clerk shall designate this

action as related to 85-CV-00489-RGS, United States of American v. Metropolitan District

Commission, and 83-CV-01614-RGS, Conservation Law Foundation v. Metropolitan District

Commission, and shall, upon his consent, reassign this matter to Judge Stearns.

       SO ORDERED.

Dated: January 30, 2023                                       /s/ Angel Kelley
                                                              Hon. Angel Kelley
                                                              United States District Judge




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